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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Case No.

 

IN THE MATTER OF TI-IE SEARCH OF:
All Content and Other Inf`ormation Associated

With lCloud Account nyreeOS@icloud.com

Maintained at Premises Controlled by Apple, Inc.

Filed Under Seal

 

AFFIDAVIT IN SUPPORT`OF APPLICATION FOR SEARCH WARRANT

I, Special Agent Erin Fuchs, being first duly swom, hereby depose and say the following:

l. I am a duly sworn and appointed Special Agent of the United States Department of
Health and Human Services, Office of lnspector General, Office of lnvestigations (hereinafter
“HHS-OIG”), l have been a Special Agent since December _of 2006 and am currently assigned
to the Columbia Field Office Where I conduct health care fraud investigations I have training
and experience in the enforcement of the laws of the United States, including training in the
preparation, presentation, and service of criminal search warrants l have duties that include
investigations of, among other matters, health care fraud, wire fraud, and false claims. Through
my training and my participation in searches and`arrests, I have assisted and/or participated in the
preparation and/or execution of search and arrest warrants This affidavit does not set forth
every fact discerned throughout the investigation; rather, it contains a summary of thd
investigation to date and sets forth only those facts that I believe necessary to establish probable
cause to search the account described herein.

2. The facts in this affidavit come from information obtained from other agents and law
enforcement officers, witnesses, my knowledge, training and experience, and personal
observations This affidavit is intended to show there is sufficient probably cause for the
requested warrant and does not set forth all of my knowledge about this matter.

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3. 'I anticipate executing the requested Warrant to search the SUBJECT ACCOUNT

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under the Electronic Communications Privacy Act, 18 U.S.C. § 2703, for all content and other
information associated with the SUBJECT ACCOUNT; namely, ICloud Account
nyreeOS@icloud.com, maintained at Premises Controlled by Apple, Inc.

4. Based on my knowledge, training and experience and the facts set forth in this
affidavit, there is probable cause to believe that evidence, fruits and instrumentalities of
violations of 18 U.S.C. § 1512(a) and (k) (Tampering with a Witness, Victim, or an Informant),
18 U.S.C. § 922/924(€) (Possession/U se of a Firearm/Ammunition in Furtherance of a Crime of
Violence), and 21 U.S.C. § 841/846 (Possession with Intent to Distribute Marijuana and
Conspiring to Possess with lntent to Distribute Marijuana) (“TARGET OFFENSES”) will be
found in the SUBJECT ACCOUNT.

5. This warrant would require Apple to disclose to the government copies of the
records and other information (including the content of communications), more fully described
in Attachment B pertaining to the subscriber or customer associated With the account more fully
described in Attachment A, stored at premises owned, maintained, controlled, or operated by
Apple.

6. Apple lnc. (“Apple”) is an American multinational corporation that designs,
develops, and sells consumer electronics, computer software and personal computers, including
the iPhone, a “smart phone” with the capability to function as a telephone, image and video
recording device, and includes many, if not all of`, the capabilities of a desktop computer.

7. Apple, Inc., provides users With the ability to store files, photographs, and messages,
on a drive that is housed on data servers not located on the users device. The user can capture the
data on their computer or mobile device, then upload or sync the data to servers owned and

operated by Apple, Inc. Once the data is uploaded or synched the user can remove the data from

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their computer or mobile device, but still be able to access data from any computer by logging
onto their iCloud account. Apple, Inc., provides users with 5GB of free space upon signing up
for iCloud services; however, the user can upgrade to as many as multiple terabytes of storage
space for a monthly fee. Apple also provides its users with email addresses at domains including
@icloud.com.

8. “iMessage” is an Apple propriety messaging platform which allows users of Apple
devices to share text, image and video communications Using the Messages application on any
Apple device that uses Apple iOS, such as an iPhone, or Mac OS X, a user can send an il\/Iessage
to any other iOS or Mac OS X device. Further, iMessages sent from one Apple device can
appear on all other Apple devices that are associated with the same Apple ID, and have activated
the Messages application on that deviee. An iMessage is sent and received based on an Apple ID,
but can also be sent based on the user’s telephone number, if a telephone number is associated
with that device. lf an iMessage is sent, the message uses an Internet data connection, whether
that connection is provided by the mobile telephone service provider or a Wi-Fi hotspot. If a data
connection is not available to the Apple device, or the Apple device is sending a message to a
non-Apple device, the Messages application will default to traditional SMS if possible for
delivery of the message. The SUBJECT ACCOUNT would possibly contain the data for
iMessage.

9. ln my training and experience, evidence of who was using the SUBJECT
ACCOUNT may be found in address books, contact or buddy lists, pictures, and other files, on
servers maintained and/or owned by Apple. Further, the providers of the SUBJECT ACCOUNT
generally ask their subscribers to provide certain personal identifying information when

registering for an email account Such information can include the subscriber’s full name,

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physical address, telephone numbers and other identifiers, alternative email addresses, and, for
paying subscribers, means and source of payment (including any credit or bank account number).
Such information may constitute evidence of the crimes under investigation because the
information can be used to identify the account’s user or users.

10. The providers of the SUBJECT ACCOUNT typically retain certain transactional
information about the creation and use of each account on their systems. This information can
include the date on which the account was created, the length of service, records of login (i.e.,
session) times and durations, the types of service utilized, the status of the account (including
whether the account is inactive or closed), the methods used to connect to the account (such as
logging into the account via the provider’s website), and other log files that reflect usage of the
account. In addition, email providers often have records of the lntemet Protocol address (“IP
address”) used to register the account and the lP addresses associated with particular logins to
the account. Because every device that connects to the Internet must use an IP address, IP
address information can help to identify which computers or other devices were used to access
the email account.

11. In my training and experience, in some cases, email account users will communicate
directly with an email service provider about issues relating to the account, such as technical
problems, billing inquiries, or complaints from other users. Email providers typically retain
records about such communications, including records of contacts between the user and the
provider’s support services, as well records of any actions taken by the provider or user as a
result of the communications In my training and experience, such information may constitute
evidence of the crimes under investigation because the information can be used to identify the

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12. As explained herein, information stored in connection with an email account may
provide crucial evidence of the “who, what, why, when, where,-and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion In my training and experience, the
information stored in connection with an email account can indicate who has used or controlled
the account. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence. For example, email
communications, contacts lists, and images sent (and the data associated with the foregoing, such
as date and time) may indicate who used or controlled lthe account at a relevant time. Further,

` information maintained by the email provider can show how and when the account was accessed
or used.

13. Additionally, information stored at the SUBJECT ACCOUNT may further indicate
the geographic location of the account user at a particular time (e.g., location information
integrated into an image or video sent via email). Last, stored electronic data may provide
relevant insight into the email account owner’s state of mind as it relates to the offenses under
investigation

14. On May 27, 2016 at approximately 7:20 a.m., Latrina Ashbume Was shot and killed
in front of her home on Rosalind Ave in Baltimore City (hereinafter “Ashburne murder”). Ms.
Ashbume was the next-door neighbor a material witness (“MW”) in the (then) upcoming federal
prosecution of Matthew Hightower. Hightower was under federal indictment for both health
care fraud charges and extortion charges related to his role in another murder (the September
2013 murder of David Wutoh, hereinafter “Wutoh murder”). H'ightower made his initial

appearance on the health care fraud charges in June of 2015. Thereafter, the government

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disclosed the MW’s name and the substance of her statement to counsel for defendant Hightower
as part of the discovery process. Ashbume was similar in age and appearance to the MW and the
two women drove similar cars. Ashbume was a pastor at a local church and to date there are no
other known suspects with motive to kill her. She was not robbed.

15. Surveillance camera retrieved from the area near the scene of the murder revealed an
unknown suspect fleeing the scene on foot. The footage also revealed a 2005 Pontiac Grand Am
bearing Maryland tag #BXC31 (hereinafter “Pontiac”) close in time and proximity to the fleeing
Suspect in what appears to investigators to be a getaway vehicle. The Pontiac was traced back to
Davon Carter, a longtime and very close associate of Matthew Hightower.

16. The surveillance camera videos also capture a silver Audi with a distinctive long and
narrow front license plate. As described further below, investigation has revealed that at that
time the Audi belonged to Matthew Hightower. The Audi was in the area near the scene of the
murder both before (approximately 6: 15 a.m.) and after (approximately 7:30 and 7:55 a.m.).
Investigators have since linked the Audi being used at that time to Clif`ton Mosley, a longtime
associate of Matthew Hightower. Mosley Was interviewed after he was identified (using call
detail records from Davon Carter’s phones), however, he denied being in the Audi at the time of
the homicide An analysis of cell site data places Mosley’s two phones (including 410-693-
1533) in the coverage area of the murder scene at the time of the shooting: 7:20 a.m. Further
Mosley and Carter communicated via the 41 0-693-1 533 number in the days leading up to the
murder.

17. According to Mosley, he had transferred the Audi to Davon Carter. Mosley said he
could not remember the date/time of the transfer. However, cell site data and security cameras y

likely have Mosley driving the car the morning of May 27 at or about 6:15 a.m. - just as Carter

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was leaving his home. Investigators know that sometime after the homicide on May 27 Carter
drove the Audi to Myrtle Beach, South Carolina. This was Memorial Day weekend, and phone
records reflect Carter was in the Audi heading south out of Baltimore City no later than 11:00
a.m.

18. Further, evidence establishes that Carter fits the description of the shooter and that
immediately after the shooting, the aforementioned Pontiac appeared to be waiting for him
immediately after the shooting. Based on the timing of Mosley’s arrival near the scene of the
murder that moming, his false statements regarding his whereabouts that moming, the gap in his
phone usage and other factors, we believe Mosley was driving the same Pontiac that Carter had
arrived in to meet with Mosley that moming.

19. On June l, 2016, Carter was surveilled coming out of his home, going to the Pontiac
and then getting in a BMW SUV parked in the same'parking lot.

20. Baltimore City homicide detectives interviewed Davon Carter on June l, 2016, after
conducting a traffic stop of the BMW SUV, also registered to Matthew Hightower. During the
stop of Carter’s car, Detectives recovered approximately two pounds of marijuana and $7,000 in
cash. Investigators subsequently identified drug customers and the source of supply, each of
whom testified in grand jury.

21. Mosley admitted in grand jury testimony that he sold marijuana in the 2015-2016
timehame.

22. At the time that investigators interviewed Carter, they recovered three phones, two
of which were “flip” phones - i.e. small, relatively unsophisticated phones without any intemet
capability. There were very few contacts on these phones. One of the phones had only seven

numbers saved in contacts; one was an entry for “Cliff” (l\/losley) and the number 410-693-1533.

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The other phone was an iPhone with telephone number 443-293-2399 that law enforcement had
been unable to unlock and search until November 2017.

23. Baltimore City homicide detectives interviewed Davon Carter that day and recorded
the interview. Carter never volunteered his interactions with Mosley the night before or the day
of the murder. City homicide detectives advised Carter of his Mirdnda warnings and told him
the connection of the victim to the federal investigation He admitted to being in possession of
the Pontiac at approximately 7:00 a.m. on May 27, 2016. The shooting occurred at
approximately 7:20 a.m. on May 27, 2016. Carter contended, however, that he had dropped the
Pontiac off to get new brakes from a guy named “Tony” who did not run a “shop” but hung out
in the Park Heights area. Carter did not know or would not provide Tony’s last name.
Detectives confronted Carter with the fact that the Pontiac was at the scene of the shooting,
however, Carter maintained that he had no information about the shooting He maintained that
after he left the car with “Tony,” he went to Myrtle Beach for a few days. The police asked how
the Pontiac was outside his residence on Junel l, 2016 or why he was driving a BMW SUV
registered in the name of Matthew Hightower, but Carter did not/could not explain He admitted
that Matthew Hightower was “like family” to him. When asked about the events of Memorial
Day Weekend, Carter stated that he went to Myrtle Beach with two of his friends, “Dre” and
“Mooch.” Investigation has determined that “Dre” is Andre Farrell. Farrell denied driving to
Myrtle Beach with Carter and, in fact, his phone records establish that he left the area much
earlier on May 27 and arriving in South Carolina no later than 7:25 p.m.

24. The police also interviewed Carter’s girlfriend, Deanna Lawson She stated that
Carter left her home at approximately 7:00 a.m. in the Pontiac on May 27, 2016. In fact, Carter’s

cell site records have him leaving the house no later than 6:15 a.m. She believed he was going to

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Myrtle Beach with “someone named Andre and his brother and his brother’s friend.” According
to Lawson, Carter was supposed to drive the Pontiac to meet up with the others to go to Myrtle
Beach, not drive the Pontiac to Myrtle Beach. When she returned home from work on Friday
May 27 at 3:30 p.m., the Pontiac was in the parking lot. She does not know how the Pontiac got
back to her apartment complex on May 27. During a subsequent interview Lawson indicated
that, while Carter had left the morning of the murder (May 27, 2016) driving her Pontiac, when
he returned from Myrtle Beach several days later Carter was driving the silver Audi with a long
tag. Carter told Lawson that the Audi belonged to Matthew Hightower.

25. On December 19, 2017, a Grand Jury in the District of Maryland returned a true bill
charging Carter with conspiracy and substantive counts related to murdering a witness, both
retaliation, in violation of 18 U.S.C. §1513(a)(1)(B)), and tampering in violation of 18 U.S.C. §
1512(a)(l)(A), for the murder of Latrina Ashbume on May 27, 2016 (hereinafter “the Ashbume
murder”). Mosley was indicted as a co-conspirator in the same counts on March 6, 2019. The
Indictment also charges Carter and Mosley with drug trafficking offenses.

26. ln December 2016, we obtained Mosley’s iPhone, telephone number 410-805-5008,
by consent. The forensic data for the phone associates the account with Apple ID
nyree08@icloud.com. The forensic data contains information regarding communications Mosley
had as early as March 2016 through December but there are apparent gaps which may be the
result of the fact that the device he had in December 2016 imported information from Mosley’s
device/number that he used in May 2016 which is 410-693-1533. In other words, the SUBJECT
ACCOUNT may contain the “backup” data for the 410-693-1533 number.

27. Mosley’s whereaboutsJ his communications leading up to the murder, as well as

after, are integral to proving his motive, the lack of alibi, and identifying other associates

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possibly involved Hence, there is probable cause to believe that the SUBJECT ACCOUNT will
contain information relevant to the ongoing investigation into the TARGET OFFENSES.

28. When the Govemment obtains records under § 2703 pursuant to a search warrant,
the Govemment is not required to notify the Subscriber of the existence of the warrant 18 U.S.C.
§ 2703(a), (b)(l)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding
the Provider from notifying the subscriber or any other person of the warrant, for such period as
the Court deems appropriate, where there is reason to believe that such notification will seriously
jeopardize an investigation 18 U.S.C. § 2705(b).

CONCLUSION

29. Based on the facts set forth above, I submit that there is probable cause to believe
that evidence, fruits, and instrumentalities of the violations of the above-enumerated offenses are
presently on the SUBJECT ACCOUNT further described in Attachment A, which are to be
searched for the items listed in Attachment B.

46. I declare under the penalty of perjury that the foregoing is true and correct to the best

of my knowledge

Q?H,

Special(kgeniiimhs

United States Department of Health and Human Services

Subscrib?dnd/s»%k,-_\ fore me this ;Z)_` day of March 2019

J. Marl(@gdlds€fh ¢.\"=_ _ J-' .

United States Magistrate Judge _;`*` _».51"'" "?-‘. `,_-\'

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